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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

MALLARD IP LLC,

                  Plaintiff,
                                             C.A. No. 2:21-CV-0472-JRG
        v.
                                                         (Lead Case)



SCHWEITZER ENGINEERING                         Jury Trial Demanded
LABORATORIES, INC.,

                  Defendant.


MALLARD IP LLC,

                  Plaintiff,

        v.                                   C.A. No. 2:21-CV-0471-JRG

RADISYS CORPORATION,                         (Member Case)

                  Defendant.

                                               Jury Trial Demanded


                                          ORDER

       The Plaintiff having filed a Notice of Voluntary Dismissal of Action Against Schweitzer

Engineering Laboratories, Inc. with Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i),

       IT IS HEREBY ORDERED THAT Plaintiff’s action against Defendant Schweitzer

Engineering Laboratories, Inc. be dismissed with prejudice. Plaintiff’s action against Radisys
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Corporation, No. 2:21-cv-00471-JRG, which has been consolidated with this case, remains

pending.




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